             Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          11/5/2020

                                                      X
MARCUS SANTOS,                                        :
                                                      :     Case No. 1:20-cv-4283-JPC
                               Plaintiff,             :
                                                      :     PROTECTIVE ORDER
                 - against -                          :
                                                      :
TRIBUNE PUBLISHING COMPANY, LLC,                      :
                                                      :
                               Defendant.             :
                                                      X




JOHN P. CRONAN, U.S.D.J.

        The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately tailored confidentiality order

governing the pre-trial phase of this action, it is therefore hereby

        ORDERED that any person subject to this Order -- including without limitation the

parties to this action, their representatives, agents, experts and consultants, all third parties

providing discovery in this action, and all other interested persons with actual or constructive

notice of this Order -- shall adhere to the following terms, upon pain of contempt:

        1.       Any person subject to this Order who receives from any other person any

“Discovery Material” (i.e., information of any kind provided in the course of discovery in this

action) that is designated as “Confidential” pursuant to the terms of this Order shall not disclose

such Confidential Discovery Material to anyone else except as expressly permitted hereunder.

        2.       The person producing any given Discovery Material may designate as

Confidential only such portion of such material as consists of:
            Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 2 of 7




                (a)    previously nondisclosed financial information (including without

       limitation profitability reports or estimates, percentage fees, design fees, royalty rates,

       minimum guarantee payments, sales reports and sale margins);

                (b)    previously nondisclosed material relating to ownership or control of any

       non-public company;

                (c)    previously nondisclosed business plans, product development information,

       or marketing plans;

                (d)    any information of a personal or intimate nature regarding any individual;

       or

                (e)    any other category of information hereinafter given confidential status by

       the Court.

       3.       With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the producing person or that person’s counsel may designate

such portion as “Confidential” by stamping or otherwise clearly marking as “Confidential” the

protected portion in a manner that will not interfere with legibility or audibility, and by also

producing for future public use another copy of said Discovery Material with the confidential

information redacted. With respect to deposition transcripts and exhibits, a producing person or

that person’s counsel may indicate on the record that a question calls for Confidential

information, in which case the transcript of the designated testimony shall be bound in a separate

volume and marked “Confidential Information Governed by Protective Order” by the reporter.

       4.       If at any time prior to the trial of this action, a producing person realizes that some

portion[s] of Discovery Material that that person previously produced without limitation should

be designated as Confidential, he may so designate by so apprising all parties in writing, and




                                                  2
            Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 3 of 7




such designated portion[s] of the Discovery Material will thereafter be treated as Confidential

under the terms of this Order.

       5.        No person subject to this Order other than the producing person shall disclose any

of the Discovery Material designated by the producing person as Confidential to any other

person whomsoever, except to:

                 (a)    the parties to this action;

                 (b)    counsel retained specifically for this action, including any paralegal,

       clerical and other assistant employed by such counsel and assigned to this matter;

                 (c)    as to any document, its author, its addressee, and any other person

       indicated on the face of the document as having received a copy;

                 (d)    any witness who counsel for a party in good faith believes may be called

       to testify at trial or deposition in this action, provided such person has first executed a

       Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

                 (e)    any person retained by a party to serve as an expert witness or otherwise

       provide specialized advice to counsel in connection with this action, provided such

       person has first executed a Non-Disclosure Agreement in the form annexed as an Exhibit

       hereto;

                 (f)    stenographers engaged to transcribe depositions conducted in this action;

       and

                 (g)    the Court and its support personnel.

       6. Prior to any disclosure of any Confidential Discovery Material to any person referred

to in subparagraphs 5(d) or 5(e) above, such person shall be provided by counsel with a copy of

this Protective Order and shall sign a Non-Disclosure Agreement in the form annexed as an




                                                      3
            Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 4 of 7




Exhibit hereto stating that that person has read this Order and agrees to be bound by its terms.

Said counsel shall retain each signed Non-Disclosure Agreement, hold it in escrow, and produce

it to opposing counsel either prior to such person being permitted to testify (at deposition or trial)

or at the conclusion of the case, whichever comes first.                                                 Any       party
                                                                                                         seeking to file
       7.       All Confidential Discovery Material filed with the Court, and all portions of            a document
                                                                                                         under seal is
pleadings, motions or other papers filed with the Court that disclose such Confidential Discovery        directed     to
                                                                                                         4.A-C of the
                                                                                                         Court's
Material, shall be filed under seal with the Clerk of the Court and kept under seal until further        Individual
                                                                                                         Rules      and
order of the Court. The parties will use their best efforts to minimize such sealing. In any event,      Practices in
                                                                                                         Civil Cases.
any party filing a motion or any other papers with the Court under seal shall also publicly file a       The     parties
                                                                                                         will use their
redacted copy of the same, via the Court’s Electronic Case Filing system, that redacts only the          best efforts to
                                                                                                         minimize
                                                                                                         such sealing
Confidential Discovery Material itself, and not text that in no material way reveals the                 applications.

Confidential Discovery Material.

       8.       Any party who either objects to any designation of confidentiality, or who, by

contrast, requests still further limits on disclosure (such as “attorneys’ eyes only” in

extraordinary circumstances), may at any time prior to the trial of this action serve upon counsel

for the designating person a written notice stating with particularity the grounds of the objection

or request. If agreement cannot be reached promptly, counsel for all affected persons will

convene a joint telephone call with the Court to obtain a ruling.

       9.       All persons are hereby placed on notice that the Court is unlikely to seal or

otherwise afford confidential treatment to any Discovery Material introduced in evidence at trial,

even if such material has previously been sealed or designated as Confidential. The Court also

retains unfettered discretion whether or not to afford confidential treatment to any Confidential

Document or information contained in any Confidential Document submitted to the Court in




                                                  4
          Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 5 of 7




connection with any motion, application, or proceeding that may result in an order and/or

decision by the Court.

       10.     Each person who has access to Discovery Material that has been designated as

Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure

of such material.

       11.     If, in connection with this litigation, a party inadvertently discloses information

subject to a claim of attorney-client privilege or attorney work product protection (“Inadvertently

Disclosed Information”), such disclosure shall not constitute or be deemed a waiver or forfeiture

of any claim of privilege or work product protection with respect to the Inadvertently Disclosed

Information and its subject matter.

       12.     If a disclosing party makes a claim of inadvertent disclosure, the receiving party

shall not thereafter review the Inadvertently Disclosed Information for any purpose, except by

order of the Court. The receiving party shall, within five business days, return or destroy all

copies of the Inadvertently Disclosed Information, and provide a certification of counsel that all

such information has been returned or destroyed.

       13.     Within five business days of the notification that such Inadvertently Disclosed

Information has been returned or destroyed, the disclosing party shall produce a privilege log

with respect to the Inadvertently Disclosed Information.

       14.     As with any information redacted or withheld, the receiving party may move the

Court for an Order compelling production of the Inadvertently Disclosed Information. The

motion shall be filed under seal, and shall not assert as a ground for entering such an Order the

fact or circumstances of the inadvertent production.




                                                 5
           Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 6 of 7




         15.   The disclosing party retains the burden of establishing the privileged or protected

nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of

any party to request an in camera review of the Inadvertently Disclosed Information.

         16.   This Protective Order shall survive the termination of the litigation. Within 30

days of the final disposition of this action, all Discovery Material designated as “Confidential,”

and all copies thereof, shall be promptly returned to the producing person, or, upon permission of

the producing person, destroyed.

         17.   This Court shall retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.

SO STIPULATED AND AGREED.


LIEBOWITZ LAW FIRM, PLLC                          DAVIS WRIGHT TREMAINE, LLP

By: /s/ Richard P. Liebowitz                      By: /s/ Jeremy A. Chase
Richard P. Liebowitz                              Jeremy A. Chase
11 Sunrise Plaza, Suite 305                       1251 Avenue of the Americas, 21st Floor
Valley Stream, New York 11580                     New York, New York 10020
Tel: (516) 233-1660                               Tel: (212) 489-8320
rl@liebowitzlawfirm.com                           jeremychase@dwt.com

Attorney for Plaintiff Marcus Santos              Attorneys for Tribune Publishing Company, LLC

Dated: October 28, 2020                           Dated: September 22, 2020


SO ORDERED.

                                              ____________________________

                                              JOHN R. CRONAN, U.S.D.J.

Dated:         New York, New York              ___________________________
                                               JOHN P. CRONAN
                November 5, 2020
               ___________________             United States District Judge




                                                 6
          Case 1:20-cv-04283-JPC Document 21 Filed 11/05/20 Page 7 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      X
MARCUS SANTOS,                                        :
                                                      :      Case No. 1:20-cv-4283-JSR
                             Plaintiff,               :
                                                      :      NON-DISCLOSURE AGREEMENT
               - against -                            :
                                                      :
TRIBUNE PUBLISHING COMPANY, LLC,                      :
                                                      :
                             Defendant.               :
                                                      X




       I, __________________________________, acknowledge that I have read and

understand the Protective Order in this action governing the nondisclosure of those portions of

Discovery Material that have been designated as Confidential. I agree that I will not disclose

such Confidential Discovery Material to anyone other than for purposes of this litigation and that

at the conclusion of the litigation I will return all discovery information to the party or attorney

from whom I received it. By acknowledging these obligations under the Protective Order, I

understand that I am submitting myself to the jurisdiction of the United States District Court for

the Southern District of New York for the purpose of any issue or dispute arising hereunder and

that my willful violation of any term of the Protective Order could subject me to punishment for

contempt of Court.

       Dated: ___________                                 ________________________




                                                  7
